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                                                                            Steven F. Molo
                                                                            MoloLamken LLP
                                                                            430 Park Avenue
                                                                            New York, NY 10022
                                                                            T: 212.607.8160
January 25, 2021                                                            F: 212.607.8161
                                                                            smolo@mololamken.com

VIA CM/ECF

Hon. Alison J. Nathan
U.S. District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     Red Tree Investments, LLC v. Petróleos de Venezuela, S.A. et al.,
               Nos. 19 Civ. 2519 and 19 Civ. 2523 (S.D.N.Y.):
               Notice of Pre-Motion Letter in Parallel Litigation

Dear Judge Nathan:

       We represent Red Tree. We respectfully write to inform the Court about a step Red Tree
has taken to try to move this litigation forward.

        Today, Red Tree filed a pre-motion letter seeking to intervene in, and to modify the pro-
tective order for, Dresser-Rand Company v. Petróleos de Venezuela, S.A., at al., No. 19 Civ.
2689 (“Dresser-Rand ”), a parallel bondholder case in this District against the Defendants. See
Ex. A (letter). As the letter describes, Red Tree seeks to access discovery Defendants are taking
in Dresser-Rand against non-party Deutsche Bank Trust Co. Americas (“DBTCA”). See id. at 1-
2. Red Tree is doing this to further simplify the matter before this Court in the hopes that doing
so will facilitate a decision on Defendants’ motions for Rule 56(d) discovery, which have now
been pending for over eleven months. See No. 19 Civ. 2519, Dkt. 64; No. 19 Civ. 2523, Dkt. 65.

       By way of background, Defendants here initially sought document discovery relating to
the Notes and Credit Agreement at issue in these cases. See No. 19 Civ. 2519, Dkt. 65 at 7; No.
19 Civ. 2523, Dkt. 66 at 5. Although such discovery was unwarranted, Red Tree nevertheless
voluntarily produced documents responsive to Defendants’ requests. See No. 19 Civ. 2519, Dkt.
84; No. 19 Civ. 2523, Dkt. 85. After Red Tree made that production, Defendants switched gears
and asserted for the first time that they were also entitled to third-party discovery, including
discovery from DBTCA. No. 19 Civ. 2519, Dkt. 86 at 3; No. 19 Civ. 2523, Dkt. 87 at 3.

        Red Tree seeks to intervene in Dresser-Rand because the discovery Defendants have
sought from DBTCA in that case is identical to the discovery they seek from DBTCA here. In
both cases, Defendants have sought discovery from DBTCA about whether and why it has
purportedly rejected PDVSA’s attempts to pay creditors, arguing that such discovery is relevant
to Defendants’ “impossibility” defense. No. 19 Civ. 2519, Dkt. 86 at 3; No. 19 Civ. 2523, Dkt.
87 at 3; No. 19 Civ. 2689, Dkt. 82 at 2-3; Ex. A at 1-2. While Defendants’ request for that
discovery in this case remains pending, the court in Dresser-Rand has allowed that discovery to
take place. No. 19 Civ. 2689, Dkt. 84 at 1.
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       It remains Red Tree’s position that further discovery in this case is unwarranted.
Moreover, even if that discovery were relevant, it could have been sought by Defendants at any
time over the past two years. See No. 19 Civ. 2519, Dkt. 87 at 3; No. 19 Civ. 2523, Dkt. 88 at 3.
Red Tree’s voluntary productions have also rendered Defendants’ original Rule 56(d) motions
moot. See No. 19 Civ. 2519, Dkt. 84 at 1-2; No. 19 Civ. 2523, Dkt. 85 at 1-2. And discovery
into Defendants’ “impossibility” defense, in particular, is not warranted because, unlike in
Dresser-Rand, there is no evidence to support that defense in this case. No. 19 Civ. 2519, Dkt.
87 at 3; No. 19 Civ. 2523, Dkt. 88 at 3. 1 However, if the court grants Red Tree’s anticipated
motion in Dresser-Rand, Defendants’ request for discovery from DBTCA in this case will also
be moot. We will advise this Court promptly when the Dresser-Rand court rules on that motion.

        Red Tree accordingly anticipates the Court’s denial of Defendants’ Rule 56 motions and
establishment of a briefing schedule for Defendants to respond to Red Tree’s summary judgment
motion. Red Tree also reiterates its willingness to participate in a conference on Defendants’
motions if the Court would find that helpful. Notably, Defendants joined in Red Tree’s prior
request for a court conference on this issue, which remains outstanding. See No. 19 Civ. 2519,
Dkts. 89-90; No. 19 Civ. 2523, Dkts. 90-91 (statements from both Red Tree and Defendants that
such a conference would be useful).


                                                             Respectfully submitted,

                                                             /s/ Steven F. Molo
                                                             Steven F. Molo


CC:     All parties of record (via e-mail and CM/ECF)




1
 Red Tree also reserves all rights to argue that other discovery Defendants have sought or may seek in this case is
unwarranted, including any other discovery Defendants have obtained in Dresser-Rand.
